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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARK SUBHER,

                      Plaintiff,

       v.                                              CIVIL ACTION

CITY OF PHILADELPHIA, et al.,                          NO. 22-601

                      Defendants.


                                      ORDER

      AND NOW, this 9th day of December 2022, upon consideration of Defendants’

Motion to Dismiss (ECF 25), Plaintiff’s Response (ECF 27) and Defendants’ Reply (ECF

28) it is hereby ORDERED that Defendants’ Motion is GRANTED IN PART and

DENIED IN PART. Defendants’ Motion is DENIED with respect to Count IV and is

GRANTED with respect to all other claims.



                                                    BY THE COURT:



                                                    /s/ Gerald J. Pappert
                                                    GERALD J. PAPPERT, J.
